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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re
                                                                  Chapter 11

                                                                  Case No. 23-10831 (MFW)
                                      1
Lordstown Motors Corp., et al.,
                                                                  (Jointly Administered)


                                          Debtors.                Docket Ref. No. 1014



NOTICE OF FILING OF OFFER OF SETTLEMENT AND OF ORDER INSTITUTING
   CEASE-AND-DESIST PROCEEDINGS PURSUANT TO SECTION 8A OF THE
 SECURITIES ACT OF 1993 AND SECTION 21C OF THE SECURITIES EXCHANGE
ACT OF 1934, MAKING FINDINGS, AND IMPOSING A CEASE-AND-DESIST ORDER

        PLEASE TAKE NOTICE that that, on February 27, 2024, the Debtors filed the Third

Modified First Amended Joint Chapter 11 Plan of Lordstown Motors Corp. and Its Affiliated

Debtors [Docket No. 1014] (the “Third Modified Plan”).

        PLEASE TAKE FURTHER NOTICE that the Third Modified Plan includes, as a

condition to confirmation of the Third Modified Plan, that the Securities and Exchange

Commission (the “SEC”) shall have issued that certain Order Instituting Cease-and-Desist

Proceedings Pursuant to Section 8A of the Securities Act of 1933 and Section 21C of the

Securities Exchange Act of 1934, Making Findings, and Imposing a Cease-and-Desist Order (the

“OIP”) attached to that certain Offer of Settlement by Lordstown Motors Corporation (“LMC”)

dated January 30, 2024 (as subsequently amended, the “Offer”).

        PLEASE TAKE FURTHER NOTICE that a copy of the Offer submitted by LMC is

attached hereto as Exhibit A.


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        The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corporation (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The
Debtors’ service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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       PLEASE TAKE FURTHER NOTICE that, on February 29, 2024, the SEC issued the

OIP, a copy of which is attached hereto as Exhibit B.

       PLEASE TAKE FURTHER NOTICE that the Debtors intend to present the attached

Offer and OIP to the Court in connection with the confirmation hearing on the Third Modified

Plan scheduled for March 5, 2024 at 3:00 p.m. (ET) before the Honorable Mary F. Walrath,

United States Bankruptcy Court for the District of Delaware, via Zoom.

Dated: February 29, 2024
Wilmington, Delaware

/s/ Morgan L. Patterson
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